
This matter have been duly presented pursuant to Rule 1:20-10(b), following a granting of a motion for discipline by consent in DRB 19-025 of Ian Zev Winograd of Parsippany, who was admitted to the bar of this State in 2016;
And the Office of Attorney Ethics and respondent having signed a stipulation of discipline by consent in which it was agreed that respondent violated RPC 5.5(a)(1) (unauthorized practice of law), **405and RPC 8.4(c) (engaging in conduct involving dishonesty, fraud, deceit or misrepresentation);
And the parties having agreed that respondent's conduct violated RPC 5.5(a)(1) and RPC 8.4(c), and that said conduct warrants an admonition or a reprimand;
And the Disciplinary Review Board having determined that a reprimand is the appropriate discipline for respondent's unethical conduct and having granted the motion for discipline by consent in District Docket No. XIV-2017-0598E;
And the Disciplinary Review Board having submitted the record of the proceedings to the Clerk of the Supreme Court for the entry of an order of discipline in accordance with Rule 1:20-16(e);
And good cause appearing;
It is ORDERED that Ian Zev Winograd of Parsippany is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
